Case 3:24-cv-01738-EMC   Document 1-3   Filed 03/20/24   Page 1 of 32




                  Exhibit B




                                                                   Page 26
                     Case 3:24-cv-01738-EMC                       Document 1-3               Filed 03/20/24           Page 2 of 32

 ATIORNEY OR PARTY WÍHOUT         ATTORNEY.               SIATE BAR NO. 2681 1 6                                           FOR COURÍ USE ONLV

 NAMË: Gary S, Brotman
 FTRMNAME     Marquee Law Group, A.P.C.
 STREETADDRESS 9100 Wlshire Blvd,, Suite 445 East Tower
 crry Beverfy Hllls                                            srArE CA      ztp cooe . 90212
 TELEpHoNÊxo:310-275-1844                                     FAxNo 310-275-1801
 E-MAIL ADoRESs: gary@marqueelaw.COm

 ATTORNEY FOR (/Verne): Geary      Sha
 SUPERIOR COURT OF CALIFORNIA, couNw OF San Franclgco
  srREErADDREss. 400 McAllister Street
 MAILING ADDRESS:
 clTYANozlPcoDE, San Francieco, CA 94102
    BRcNcÞt NAMË: Civic Center COufthOuee


         Plaintiff/Pelitioner: Geary Sha
 DefendanURespondent: Aircraft Service lnternatlonal, lnc., et al
                                                                                                            GASE NUMEER:
                 NOTICE AND ACKNOWLEDGIUIENT OF RECEIPT-CIVIL                                               cGc-23-606989


TO finserf name of pañy belng serued) MENZIES AVIATION                             , tNc.

                                                                           NOTICE
     The summons ând other documents identif¡ed below are being served pursuant to section 415,30 of the Cal¡fornia Code of Civil
     Procedure. Your failure to complete this form and return it withln 20 days from the date of mailing ehown below may subjec't you
     (or the pârty on whose behalf you are being served) to liability for the payment of any expenees incurred ln serving â summons
     on you in any other manner permitted by law,
     lf you are being served on behalf of a corporation, an unincorporated aseociation (lncluding a partnership), or other entity, this
     form musl be aigned by you ln the name of such entity or by a person authorized lo receive service of process on behalf of such
     entity. ln all other casee, thls form must be signed by you personally or by a p€rson authorized by you to acknowledge receipt of
     summons, lf you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of recelpt below.


Date of mailing:        6n4n023


                                   Gary S. Brotman
                                   (TYPE OR PRINT NAME)                                                      oF SEI{DER-.MU8T NOT BE A PARIY tN TH|S CASE)



                                                          ACKNOWLEDGMENT OF RECEIPT
Thls acknowledges receipt of (fo be completed by aender belore malltng):

1, f-fl A copy of the summons and of the complaint.
2. x I Olher (speclfy):
              CIVIL CASE COVER SHEET:ADR INFORMATION
              PACKAGE;AND NOTICE AND ACKNOWLEDGEMENT OF RECEIPT - CIVIL


(To be completed by reciplent):

Date thls form is signed:


                (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY                            (SIGNATURE OF PERSON ACKNOW.EDOINO RECEIPT, WTH IITTE IF
                       oN vvHosE EEHALF TH|S FORM tS S|GNED)                                ACKNOWTEOGMENT IS MAOE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                        Plgô I ol I


                                                                                                             - CIVIL
Form Adoplrd lor Mlndrlory lJ!è                                                                                                             Code ol Crvil Proc€dure,
Jud¡sial Corrñc¡l of Câlilorñ¡t
                                           NOTICE AND ACKNOWLEDGMENT OF RECEIPT                                                                  Ê941s.30,417.10
POS.016 lRcv, JÊnuâry l, 20051                                                                                                                 www.@ullnlo.ca,gov

                                                                                                                                       Page 27
 AllOtlNEY Oll PAtllY WIIHOUT ATIORNEY lil¡m, Stðte B¿rñumhoL and ãddress):
      Gery S. Brotman (SBN 287726)     Case 3:24-cv-01738-EMC                             Document 1-3                  Filed 03/20/24               Page   3 ofUSE
                                                                                                                                                       FOR COURT 32ONLV
      MARQUEE tAW GROUq             Prolossionâl Corporation
                                  ^ 445 Eâsl Towor
      9100 Wllshlre Boulevârd, Sutlo
      Bevorly H¡llB, Cålifornla 90212
             TELEPHONE NO,: (310)                 275'18,14                      IAX No. (oprional)r   (310) 275.1601
                  E.MAILADDRESS: gâry@marqus€lew.com
                                                                                                                                                          ELECTRONICALLY
       AITORNFYFOR(Nano): GoarySha

 SUPERIOR COURÎ OF CALIFORNIA, COUNTY OF SAN FRANCISCO
                                                                                                                                                              FILET)
                                                                                                                                                         Superlor' Coun o¡ C.lllotnlr,
     SïREETADDRESS: 400McAilislorstf€€t                                                                                                                   County ol Stn F¡ancltco
 MAILING ADDRESS:

 CITY ANO ZIP CODE: San Frûnc¡sco, CA 94102                                                                                                                    06/09/2023
           BRÂNCH NAME: C¡v¡c C€nt€r Courthous€
                                                                                                                                                          Clerk of the Court
                                                                                                                                                             BY: MARK UDAN
 CASE NAME:                                                                                                                                                                  Drputy Clrrk
                            Goary Shû vs, Ahcrelt Service lnternåtional, lnc., at al.

                 CIVIL CASE COVER SHEET                                                 Complex Caae Dealgnâtlon                        C,{SE NUMBER;
                                                                                                                                                                cGc-23-606989
F7l Unllmlted
                 (Amounl
                                                tt      Limlted                       l-l Counter l--l Joinder
                                                        (Amount
                                                                         Flled with lìrst appearanco by defendant                       JUDGE:
                 demanded                               demanded is
                                                                              (Cal. Rules of Court, rule 3.402)
                 exceeds $25,000)                       $25,000 or less)                                                                OEPT.:

                                                                                      must                                       on page
 1. Check one box below for the case type that best describes this case:
             Tort
          Auto                                                                   Contract                                          Provlalonally Complex Clvll Lltlgatlon
         l-l Ruto 1zz¡                                                           l-l     Breach of contracVwananty (06)            (Cal. Rulaa of Court, rulee 3.400-3,403)

         I              Uninsured motorist (46)                                  l-l     nute 3.740 colloctions (09)              l-l      AntitrusUTrade regulation (03)
          Other PI/PD/WD (Penonal lnJury/Propefi
                                                                                 f]      Otner collections (09)                   f]       Construction defect (10)
          Damage/Wrongful Oeeth) Tort
                                                                                 I       lnsurance coverage (18)                  l-l      Mass tort (40)
         f-l            Asbestos (04)
                                                                                 l-l     Ottrer contract (37)                              Securities litigation (28)
         l-l            Product llablllty (24)
                                                                                 R€al PÌoporty                                             Environmental/Toxic tort (30)
         l-l            Medical malpractlce (45)                                                                                           lnsurance coverage claims arising from the
         l-l           other Pr/PDAruD (23)
                                                                                 f]      Eminent domain/lnverse
                                                                                                                                           above listed provisionally complex caee
                                                                                         condomnation (14)
                                                                                                                                           typ€s (41)
          Non-Pl/PD/WD (Other) Tort                                                      Wrongful evlctlon (33)                    Enforcement of Judgment
                        Buslness torUunfair business practice (07)               f-l  other real property (26)
                                                                                                                                  f]       Enforcement of judgment (20)
                       Clvllrlghls (08)                                          Unlawful Detalner
                                                                                                                                   Mlecellaneou¡ Clvll Complalnt
                       Defamation (13)                                           f]] commercial(31)                               l-l ntco (zz)
         l-l           Fraud (16)                                               l-l      Residentlal (32)

                        lntellectual property (1 9)                             l-l      Druss (38)
                                                                                                                                  fl       Otner complalnt (nol specllted above) (421
                                                                                                                                   Mlgcellaneous Clvll Petltlon
         l-l           Profeselonal negligence (25)                              Judlcl¡l Rovlew
                       Other non-Pl/PDÂflD tort (35)                            fl       Asset forfeiture (05)                    f-l      Partnershlp end corporate governance (21)

         Employment                                                                      Petition re: arbitration award (1 1)     l-l      Other potition (nof spectftad above) (431

        lllZ Wrongful termination (36)                                          l-l      wr¡t of mandate (02)

        fl omeremployment (15)                                                  [-l      Otner¡udlclal revlew (39)
2. Thls case l-l ts l7l is not complex under rule 3.400 of the California Rules of Court. lf the case is complex, mark tho
            factors requiring exceptlonal Judlclal mânagement:
         a. f-l                Large number of separately represented parties d,                            l-l       Large number of witnesses
         b. l-l                Extensive motion practice ralslng dlfflcult or novel e.                      I-l     Coordination with related actions pending in one or more
                               issues that will be time-consumlng to resolve                                        courts in other counlies, Etatgs, or countries, or ln a federal
         c. l-l                                       evldence
                               Substantial amount of documentary                                                    court
                                                                    f                                               Substantial postjudgment judicial supervision
3,         Remedies sought (check ail that apply): a.l7l monetary b,                                              nonmonetary; declaratory or injunctive relief c, FJZ punitive
4,         Number of causes of action (specify): 6
5,         This case                l-l ¡s El ls not a class action suit,
6, lf there are âny known related cases, file and servs a notice of related case, (You may use form CM-015,)
Date: Junc tJ.2023

                                                 OR PRINT NAME)
                                                                                                                  )
                                                                                                                                            OF PARTY OR A


 ' Plaintiff must file this cover sheet with the first papor filed in the action or proceeding (except small claims casss or cases flled
        under the Probate Code, Famlly Code, or Welfaro and lnstitutions Code), (Cal, Rules of Court, rule 3,220,) Failure to file may result
        in sanctions,
 .      File lhis cover sheet in addition to âny cover sheet required by local court rule.
 '      lf this case is complex under rule 3.400 et seq. of the Callfornia Rules of Coul, you must sorvo a copy of this cover sheet on all
        other parties to the action or proceedlng.
 .      Unless this is a collections case undor rule 3.740 or a complex case, this covsr sheel will be used for statistical purposes only.

Form Adoplod lor MEnddlory Use
                                                                                                                                                                           Page 28               1ot
                                                                                                                                             C¡|, Rulo¡ ol Coud, ntles 2,30,3,220,3.400-3.403, 3.740;
     t,.¡¡-¡-l                ¡t
                                   ^-t¡fÃã¡^
                                                                                   CIVIL CASE COVER SHEET                                            ^-l
                                                                                                                                                          c¡rF¡-,¡- ^, l,t¡¡-¡Ãt                ôr, ã .^
                 ^ñtt¡¡il                                                                                                                                                        ^rñt-¡^r,^il^å
                       Case 3:24-cv-01738-EMC    Document
                               INSTRUCTIONS ON HOW        1-3 THE
                                                   TO COMPLETE Filed 03/20/24
                                                                   COVER SHEETPage 4 of 32                                                  CM.OIO
To Plalntlffs and Others Flllng Flrst Papers. lf you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statlstlcs about the types and numbers of cases filed, You must completo items 1 lhrough 6 on the sheet. ln item 1, you must check
one box for the case type that best describes the case, lf the case fits both a general and a more specific type of case listed in item 1,
check the more specific one, lf the case has multiple causes of action, check the box that best lndicates the prlmary cause of action,
To assist you in completing the sheet, examples of the cases thal belong under each case type in item 1 are provided bslow. A cover
sheet must be filed only with your initial paper, Failure to filo a cover sheet wlth the flrst paper liled in a civil case may subject a party,
Its counsel, or both to sanctions under rules 2,30 and 3.220 ol the Californla Rules of Court.
To PaÉlee in Rule 3.740 Collectlone Caeee. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusivo of lnterest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit, A collections case does not lnclude an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment, The identification of a case as a rulo 3.740 collections cåse on thls form means that it will be exempt from the general
tlme-for-service requirements and case managemonl rules, unless a defendant flles a responsive pleading, A rule 3,740 collections
case will be subject to the requirements for service and obtaining a judgment ln rule 3.740,
To Parllec ln Complex Caeee. ln complex cases only, parties must also use the Clvll Case Cover Sheet to designate whether the
case is complex, lf a plaintiff believes the case is complex under rule 3.400 of the Callfornla Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. lf a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parlies to the action. A defendant may file and serve no later than the tlme of its fÏrst appearance a joinder in the
plalntiffs designation , a counter-designation that the case is not complex, or, lf the plalntlff has made no designation, a designation that
the case is complex.                                      CASE WPES AND EXAMPLES
  Auto Tort                                      Contract                                           Provlrlonally Complex Clvll Lltlgatlon (Cal
                                                     Breach of ContractMananty (06)                 Rulea of Court Rulee 3.400-3.403)
     Auto (22)-Porsonal lnjury/Property
                                                        Breach of Renlal/Leaee                           AntltrusUTreds Regulatlon (03)
          DamageÂflrongful D€âlh
       Uninsured Motorist (46l- (if the                     Contract (nol unlawful delalner              Construclion Defect (10)
        case inyolyes an unlnsured
                                                                or wrongful aviction)                    Claims lnvolving Mass Tort (40)
        motorist clalm subject to
                                                         Conlracuwsrranty Breach-Seller                  Securltles Lltigatlon (28)
       arbitration. chack this item                          Plaintiff (not fraud or neglígence)         Environmental/loxic Tort (30)
                                                         Negllgent Breach of ContracV                    lnsurance Coveråge Claims
        lnstead ol Aulo)
  Othor PI/PDMD (Pereonal lnJury/                             Warranly                                         (arlslng from provlslonally complex
  Propefi Damago/Wrongful Doath)                         Other Breach of ContractMananly                       case lype listed above) (41J
  Tort                                               Collecllons (e.9., money owed, open            Enforcement ol Judgment
         Asbestos (04)                                   book accounts) (09)                           Enforcement of Judgment (20)
                                                         Collection Case-Seller Plaintiff                  Abstract of Judgmenl (Oul of
           Asbestos Property Damage
           Asbestos Personal lnlury/                     Other Promlssory Note/Collections                      County)
                                                             Case                                      Confesslon of Judgmenl (non-
                  Wrongful Deelh
         Product Liability (nof asôesfos or          lnsurance Coverage (not provisionally                  domestic relations)
            lox I c/e nv I ro n me nt a0 (24')           complex) (18)                                 Slster State Judgment
         Medical Malpractice (45)                        Auto Subrogetion                              Admlnlstrâllvo Agency Award
             Medical Malpractice-                        Other Coverage                                    (not unpaid taxes)
                    Physlclans & Surgeons            Other Contract (37)                               Pelltion/Certificatlon of Entry of
         Other Professional Health Care                  Contraclual Fraud                                  Judgmsnt on Unpald Taxes
               Malpractice                               Other Contract Dispute                        Other Enforcement of Judgment
         Other PI/PDllflD (23)                    Real Property                                              Case
             Premises Liability (e,9., slip          Eminent Domaln/lnverse                         Ml¡qellaneoua Clvll Complelnt
                                                        Condemnation (14)                              Rrco (27)
                    and fall)
             lntentional Bodlly lnjury/PDMD          Wrongful Evlctlon (33)                            Other Complalnl (not specllied
                     (e.9., assault, vandalism)      Other Real Property (e,9,, qulet tltle) (26)          above) (42)
                                                        Writ of Possesslon of Real Property                Declaratory Relief Only
             lnt€nllonal lnfllctlon of
                                                        Mortgage Foreclosure                               lnjunctlve Rellef Only (non-
                    Emotional Distress
                                                        Ouiet Title                                             harassment)
             Negligent lnfliction of
                     Emollonal Dlslresg                 Other Real Property (not eminent                   Mechanlcs Llen
             Other P|IPD¡1frD                           domain, landlotd/lenent, or                        Other Commercial Complainl
                                                         foreclosura)                                           Case (non -tod/non -com pl ex)
 Non-PI/PD/WD (Other) Tort
       Business TorUUnfalr Buslness               Unlawful Detelner                                        Olher Clvll Complalnt
           Practice (07)                             Commercial (31)                                            ( non -torün on-com plex)
                                                     Resldentlal (32)                               Mlccellaneou¡ Clvll Petltlon
       Clvll Rlghts (e.9., dlscrlmlnatlon,
            false arrest) (not civll                 Drugs (38) (if the oase lnvolves lllegal          Partnershlp and Corporate
            ñarassmenf) (08)                         drugs, check this ltem: otherwise,                    Governance (21 )
       Defamatlon (ê,9., slândsr, llbsl)             rcpori as Commerclal or Resldentlal)              Other Petlllon (not specllled
             (1 3)
                                                  Judlclal Revlow                                          above) (431
       Freud (16)                                    Asset Forfelture (05)                                 Clvll Harassment
       lntellectual Property (19)                    Pelition Re: Arbitratlon Award (11)                   Workplace Vlolence
       Professional Negligence (25)                  Writ of Mandate (02)                                  Elder/Dependent Adult
           Legal Malpractlcs
                                                         Wrlt-Admlnlstrallve Mandamus                           Abuse
          Other Profeeslonal Malpractlce                 Writ-Mandamus on Llmlled Court                    Election Contest
                (not medical or legal)                      Case Matter                                    Petition for Name Change
       Olher Non-Pl/PDMD Tort (35)                      Wrll-Other Llmlted Court Case                      Polltlon for Rellef From Lels
                                                            Review                                              Claim
 Employment
       Wrongful Termination (36)                     Other Judicial Review (39)                            Other Civil Petition
                                                        Revlew of Health Officer Order
       Other Employment (15)
                                                                of

                                                                                                                                            P¡ec 2 of 2
                                                                                                                               Page 29
CM.ol0lRov. Soptombor '1, 202'll
                                                         CIVIL CASE COVER SHEET
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                         Case 3:24-cv-01738-EMC                      Document 1-3            Filed 03/20/24           Page 5 of 32
                                                                                                                                                      suM-100
                                                       SUMMONS                                                                 FOR COURT USE ONLV
                                                                                                                                 F
                                                                                                                           lsolo RÁ uso DE LA coRrE)
                                                   (ctTActou JUDtctAL)

 NOTICE TO OEFENDANT:
 (AViSO AL DEMANDADO):
  Alrcrafl Servlce lnternatlonal, lnc., a Delaware corporatlon; Menzles Avlat¡on (USA), lnc.,
  a Delaware corporat¡on; Tracy Aguilar, an lndiv¡dual; and DOES 1 through 50, lncluslve.
 YOU ARE BEING SUED BY PLAINTIFF:
 GO ESTÁ DEMANDANDO EL DEMANDANTE):
       Geary Sha, an lndlvidual
  NOTICEI You have been sued, Thê courl may decid€ âgalnsl you without your belng heard unless you responcf w¡thin 30 days. Reåd the informat¡on
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers ar6 sorved on you to file a written response at this court and have a copy
  served on th6 plalnllff, A letler or phone call will not protect you, Your wrltlên r€sponse must be ln proper legal form if you want the court to hoar your
 case, There may be a court form thåt you can us€ for your responsê. You can lìnd these court forms and more lnformation at lhe California Courtg
 Onllne Self-Help Cent€r (www.couñlnfo.ca.gov/selfhelp), your counly law library, or th6 courthouse nearest you, lf you cannot pay the lillng fee, ask the
 court clerk for a fee waiver form, lf you do nol file your reÊponse on tlme, you may lose lhe case by default, and your wages, money, and proporty may
 bo taken without further warning from the court.
     There are other legal requlrements. You may want to call an attorney right eway. lf you do not know an attorney, you may want to call an attorney
 referral service. lf you cannot âfford an âtlorney, you may be eligible for free legal servlces from a nonprofit legal services program. You can locate
 thoso nonprofit groups at the Califomia Legal Services Web site (www.lawhelpcalifomia,orgl, the Californla Courls Onllne Self-Help Center
 (www.courllnlo.ca.gov/selfhelp), or by conlactlng your local courl or county bar assoclatlon. NOTE: The court has a statutory lien for waived lees and
 costs on any setllement or arbitration award of $10,000 or more in a civil case, The court's llen musl be pald before the court will dismiss the case.
  ¡AVlSOl Lo han demandado. Sl no rosponde dentro da 30 dlas, la code puede decidir en su contra sin escuchar s u verslón, Lea la lnlormaclón a
 conllnuaclön.
     Tiene 30 DIAS DE CALENDARIO después de que ta entreguen esta oitación y pape/es legales para presentar una respuesla por escrito en esla
  coñe y hacer qua sa entregue una copia al demandante. Una cada o una llamada telefónica no lo prolegen Su respuesla por escrllo tlene gue estar
 en lormalo legal correclo si d€s€€ que procasen su caso an la corle. Es posiò/e gua haya un formulario que usted puada usar para su ¡espuesfa.
 Puede encontrar estos lormularíos de la aoile y mâs inlormaaiön en el Centro de Ayuda de las Coíes de Callîomia (www.sucoda.ca.gov), en la
  blblloteca de leyøs da su condado o en la co¡le que le quedø más cerca. Si no puedo pagar la cuota de presentación, plda al secrelarlo de la corle que
 le dé un lormularlo de exenclön de pago de cuolas, Si no presenta su rsspuesla a tlampo, puede perdør el caso por incumplimiento y la cofto le podrá
 guilar su suoldo, dinero y blenes sin mâs advedencia,
    Hay otros requr'slfos legales. Es recomendabla que llame a un abogado inmadiatamente. Si no conoce a un abogado, pueda llamar a un sevicio de
  remlslön a abogados. Sl no puede pagat a un abogado, es posible que cumpla con los rsqulsltos para obtener servlcios legales gratuitos de un
 prcgrama de servicios /egales sin flnes de lucto, Puede encontrar estos grupos sin llnes de lucro en el slllo wab de Callfomla Legal Serulces,
 (www.lawhelpcalltornia.org), en el Centro dø Ayuda de /as Corles da California. (www.sucorte,ca,gov) o poniéndose ên conlaclo con la cofte o el
 colegio de abogados /oca/es, AVISO; Por ley, la code tiene derccho a reclamar las cuolas y ros coslos exenlos por imponer un gravamen sobre
 cualquier rccuperaciôn de 810,000 ô mâs de valor recibida mediante un acuetdo o una conaes¡ón de arbllrSe on un caso de derecho clvll. Tlene que
 pagar el gravamen de la corle antes de que la corle pusda desechar al caso.
                                                                                                CASE NUMBER:
The nâme ånd address of the court ls:                                                           (Numsrþ døl Caso):
(Et nombre y dtrecctön de la coñe es): Clvlc Cenler Courlhouse
                                       400 McAlll¡ler 9t
                                                                                                                               ccc-23-606989
                                                   San Francl¡co, CA 94102
The name, address, and telsphone number of plaintitfs attorney, or plaintiff without an attorney, is:
(El nombre, la direcciön y eln(tmero de teléfono delabogado del demandante, o del demandanto que no llene abogddo, es):
  Gary 8. Brotman (8BN 287720), Marquee Law Group, A.P.C. 9100 Wll¡hlre Blvd. 9te. ¡f45 Ee¡t Tower, Beverly Hlll¡, CA 90212; (310) 275-18¿14
DATE:                                                                            Clerk, by                                                            , Deputy
(Fecha) 06t1312023                                                   (Secrelarlo)         MARK UDAN
(For proof ol se¡vlce of thls surmrnons, use Proof of Servlce of Summons (form POS-010),)
(Para prueba de entrega de esla cllatlön use el formularlo ProoÍ of Servlce of Summons, (POS-010)).
  lsEArl                                NOTICE TO THE PERSON SERVED: You are served
           {rl{'l t)/.                 1, f-l   as an individual defendant,
                                       2. l-l   as the person sued under the fictitious name of (speclfy):

                                       3. l-l         on behalf of (specr'fy);
                                               under:   l--l CCP 416,10 (corporation)                          l-l ccP 416,60 (minor)
                                                                CCP 416.20 (defunct corporation)               lI CCP 416.70 (conservatee)
                                                                CCP 416,40 (association or partnership)        [-l CCP 416.90 (authorlzed person)
                                                                other (specify);

                                                                                                                                                          Plgo I ol I
Form Adopled lor Mdnd€tory U6o                                                                                                 Codo ol Clvll Procedurs 9$ 412.20,465
  Judlci€l Councll ol CalllomiE
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                    Case 3:24-cv-01738-EMC                Document 1-3      Filed 03/20/24    Page 6 of 32




       l
            F. Shawn Azizollalri (SBN 26fl I l(r)
       2    slt arvn (¿r)rn arq uee I a w. c o rrr                                               ETECTRONICALL

       l
            Gary l-ìrotnran (SBN 28772(t)
            gary (4)m arquee I aw.conr
                                                                                                   FILEI)
                                                                                                Supcrlor Coun ol
                                                                                                 Coutly ol Sm Franclcco
            MARQTJEE LAW GROUP. A Profbssional Llorporation
       4
            9100 Wilshire Boulcvard. Suitc 445 East Tower                                           06/09/2023
                                                                                                 Clerk of the Court
       5    Reverly I lills. Calif'ornia 90212                                                    8Yi MARK UDAN
            (310) 275- l 844 telephone                                                                        Doputy
       (;
            (310) 275-1801 lax
      1
            Atturneys lbr Plaintiff
      B     Geary Sha

      I
                                     ST]PERIOR COURT OF THE STATE, OF CALIFORNIA
 l0
                                                     COI.INTY OF SAN FRANCISCO
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            GEARY SIIA. an inclividual:                          )    Casc No
 :l -j
                                                                 )
                                  Plaintifl.                     )    COMPI,AINT FOR:
 14
                      vs.
                                                                )
15                                                              )     l. Disability Discriminntion in Violation
                                                                )        Cnl. (Jov. Code Section 12900 ct seq.;
 Itr        AIRCRAFI' SERVI C]E INTERNATIONAI-.                 )     2. Hnr¡rssment rnd Hostilc Work
            lNC., a Dclaware cor¡roration: MENZIES                       Environmcnt in Violation of Cal. (ìov.
I-l                                                             )
            AVIAl'lON ((JSA), INC, a Delaware                   )        Codc Scction 12900 et seq.;
]B          corporation: TRAC'Y AGUILÂR. an                )          3. Failure to Prevent Discriminalion ¡nd
            indivictual; ancl DOES I through 50. inclusive               Ilarassment in Violntion of Cul. Gov.
                                                                )
ls
                                                                )        Code Section 12900 ct scq.;
20
                                  Dclbndants.                   )     4. Ret¡rlintion in Viol¡tion of Cal. Gov.
                                                                )        Codc Scction 12900 et seq.;
'¿r
                                                                )     5. Wrongful Termination ln Violation of
aa                                                              )        Public l'olicy (Count I); and
                                                                )     6. Wrongful Ternrination In Violation of
')'¿                                                            )        Public Policy (Count II).
                                                                )
24
                                                                )
?s                                                              )
                                                                )
26                                                              )
                                                                )
'J1
                                                                )
2B




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                                                            COMPLAINT
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     I    Plaintil'l' allcgcs

     ?                                                     PARTIR,S

     .j            l.       I'laintifl. (ìcary Sha ("PlaintifT" herein). is. and at all rclcvant tintes was. û
     4    rcsident of Val le.jo. Clal ifornia.

     5             2.       Plaintill'is inlirrnrcd and bclicvcs. a¡rd basecl thereon alleges, that Dcfbndant
     (;   Aircrali Scrvicc Intcrnational. lnc. ("ASI") is. and at all relevant timcs was. a corporatiott
     1    organized and existing under the laws ol'the st¿rtc ol'l)elaw¿rrc. qualitìecl to do lrusilless in tlte

     iJ   state ol-Calilìrrnia. with its principal place of bnsiness located at 3500 V/illialn D l-ate Avetltlc.

     I    Suitc 200. Crapevine. Texas 76051 .

10                 3.       Plaintil'l'is infbrmed ancl believes. and bascd thereon alleges. that Delbndant

1l        Menzies Aviation ([JSA). lnc. ("Mcnzics") is. and at all relevant ti¡nes was. a corporation

1?.       organizcd and existing under the larvs ol'the state ol'I)elarvarc. qualifìcd to do trt¡siness in the

l-J       state ol'Calilirrnia. with its principal placc of business located at 4900 Diplomacy Road. Irort

l4        rWorth.'I'exas 76155.

15                4.        Plaintifl'is inlìrr¡ned and bclicvcs. and based thereon alleges. that Dcf.endant
1f;       Tracy Aguilar is. and at all rclcvant tirnes \ryas. a resident ol'San Francisco. Clalifornia. At all

l7        relevant tinres. Aguilar rvas the Human Rcsourccs Manager fol Menzies Aviation who controlled

]B        the rvork conditions lbr Plaintifï
'I
     I            5.        Plaintiff is ignorant of the true nanres and capacitics of the clefenciants sued herein

20        as DOES I through 50. inclusive. and therelbrc sucs thcsc dct'enclants try such tìctitious nantes.

'¿I       Plaintill'will amencl tlris Corl¡rlaint to allcgc thc tnre names and ca¡racities ol'said dcl-cndants
          whcn ascertainecl. PlaintifTis infornlecl ancl believes. ¿rnd bascd thereott allege. that each of'the

21        fictitiously llallled delènclants is res¡ronsiblc in somc rnanncr for the occurrcnces hcrein allegcd.
24        and that Plaintill's clamagcs as hcrcin allcgcd werc proxinrately caused by said dcfenclants. (^Sl.

:¿5       Menzics. and DOES I through 50 shall collectively herein be relbrrcd to as "l)ef'enclaltts").

) t:,             6.       At all relevallt tinles herein, l)el'endants cnrployccl Plaintiff. within lhe nreaning of'

ir. l     Califìrrnia (ìovcrn¡ncltt Codc $ 12926(d), PlaintifTwas enr¡rloyed by Dclcndaltts and rvorked at
1n        Dcfcndant's office locatecl at 730North Mcl)onnell Ro¿rd. San l;rancisco. CIA 94128 until. as


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                alleged herein. PlaintiÍïs cnrploymcttt rvas tenni¡ratecl on or about January 3. 2023 lilr unlawful

           ?    rcasons in violation ol'tlre Clalil'ornia Fair Lrnploynìcnt and I lousirrg Âct ("IìUl^." Califbrnia

           .j   Gttverllnerrt Clode $ I 2900 et scc1. ) and in violatiorr ol'Calilìrrnia ¡rublic policy.

           4            7.      Unless otherwise alleged in this Conrplaint. Plaintifïis infbnncd and belicvcs. ancl
           t
                based tltercon allcges. tltat cach of'the Def'endants sued herein rvas. at all re levant tinles hereto.

           (;   the enr¡rloyer. owner'. principal. franchiscc. proxy. ager¡t. cnr¡rloyee, supervisrlr, representative.

       '7
                managcr. nranaging agent. joint enrployer. and/or alter ego of thc rcrnaining Dclcndants. and was

       I        acting. at least in part. within thc coursc and sur¡re ol'such enrploynrerrt ancl agency. with express

       I        arrd inrpliecl ¡rertttissiott. consent, ancl knowledgc. 'l'hc abovc Dcf'cndants. rnanaging agcnts. and

  l0            supervisors aidcd. abettecl. conclolted. ¡renrritted. willfully ignored. approved. authorized. and/or

  t1            ratifìed the unlawful acts dcscribcd herein. and each ancl every one of'the acts and umissions

  )2            alleged lrerein were ¡rerfonned by. and/or arc attributablc to all Dcf'crrdants.

  l-1

  t4                                                       JURISDICI'ION
 l5                     8.      PlaintifTis inlirrrrred and trelieves. and based thereon alleges. thatat all times
 1Éi            herein nrentioned. Defendants, and cach of thern. were doing business in the State ol'Calif'ornia

 I1             such tltat thc cxcrcisc ol'jurisdiction by this Court would not lre inconsistent with the

 r8             Constitution of the Statc of Clalif'ornia and/or the IJnited States ol'Alnerica.

 19                     9.      This Court has jurisdiction over this action pursuant to Clalifbrnia Clodc of Clivil

20              Proccdurc Scction 4l 0. 1 0.

21                      10.     'l'hc total anìount in controversy lirr clainrs of'Plaintiff is nrore than Twenty-l?ivc

?.2             l'housand Dollars ($25.000). In addition. Plaintiff assuts no claims undcr t'cderal law, with all

23              causcs of actirtn narned herein being trased exclusively tulder C,-alifornia law.

24

25                                                              VENTJE

?rJ                     ll.    Plaintill'is inltrrnled and believes, and bascclthcrcon allcgcs. that venuc is pro¡rer
i?.'   I        n San Francisco Cottnty becausc Dcf-cnclants. ¿rnd each ol'tlrcnr, havc. contluctcd husiness rvithin

?.8




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                                                              coMPt.^lN]'
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        tlre County ol'San Francisco a¡rd a substantial portion of'thc wrorrgfìrl acts conlplained ol'

   ')   r-rccurrcd thcrcin.

   .t


   4                                            GENERAL ALLtrGATIONS
   5              12. Plaintiff alleges and incurporates herci¡r by tltis rcfbrcncc cach ancl every
   (;   allegation set lirrth in all previt)us paragraphs of this Cornplaint.

   1    Plainl itf's Employntent :

   B              1   3.   l)efbndants employcd Plaintill'lì'om on or about May 2t). 201 8 until on or ¿llrout

   s    January 3,20?3 (thc "Employmcnt Pcriod").

l0                14. ASI is a flight support conrpany rvhich ¡rrovides a wide array of scrviccs to
1l      colllntercial aircratl. ASI ofibrs rel'ueling scrviccs to aircrafl otì thc grouncl as well as grourtd

12      handling scrviccs irrcluding baggagc and cargo handling and transfer services. ASI is also

LJ      res¡ronsit'rle lirr ¡rroviclirrg cabin and lounge clcaning as wcll as.jctway de-icing services. ASI

 l4     opcratcs around thc country and bcyond.

15                15.      Sinrilarly. Menzies. in conjunction with ASI. provides ground, fìrcling" ancl cargo

1€;     services to conrnrercial aircrafl. In or about 2017, Mcnzics acquired ASI. who now operates in

I1      California under tlle fictitior¡s lrusiness nanre Menzies aviation. At all rclcvant tintcs hucin" both

ltr     Menzies and ASI jointly nranagcd ancl controllcd PlaintitTs wages. hours. rvork schedule. and

t9      work conditions.

20                16.      Plaintiff was a hard-working and successf'ul Operations/Ge¡rcral Managcr. wlto
2I      carried or¡t his duties effectively ancl was excited to work t'or Dcl-cndants. 'l'hat is. t¡ntil

        Del'cndants turncd against Plaintitïwhcn hc sufferecl fi'orn a temporary tlisatrility and required

¿-1     scvcral rnonths of nledical leave,

24      Pl a ì n I ìff's Protecte d Stat us :

i¿5               17.      Plaintil'l'is a 36-year-old nralc who sul'Ícrcd lrorn .l tcrnpor.1ry physical clisability.
.a t,   Plaintill'had to havc trvo hcart valvc snrgcrics and suf'fered cornplications lì'tulr the lirsl..
        including a slroke that tenr¡xrrarily disablcd Plai¡rtill's right sidc o1'thc bocly, I'laintiff rvetìt out
10      on lncdical lcavc lbr scvcral months to rccovcr ancl was ultirnately wrongfully tcnlrinatccl lìrr


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           discrinrinatory arìd retaliatory rcasorìs. i.c.. l'or bclongirrg to a protcctcd class and fbr cngagirìg in
      'i   pt'otcctcd activitics. Cotrsequctrtly. Plaintifl'is a ¡rlotected enr¡rloyee. as clefìnccl uncler C'alilbnria

      .t   [,arv. (See. C-al. Gor,'t C'ode $ 12940. ct saq.).

      4    P I o i n I ifi''s J o h Pe r.þ r rrtil n c e :

      l,               I   L      Plaintifï was an cxcrnplerry cnrploycc ol'l)cl-cnclants thrcughout tlìc cntircty ol'thc
      (;   Enr¡lloytttent Period, I'laintiff never rcccived any rìcgativc pcrfbnnancc cvalt¡ations a¡ld rvas

      1    pronìotcd to his nranagerial ¡rosition rvilh ease,

      B    Defe n d a n ts' I'Ia ras s ì n g, I) ì sc rÍ m í n fl lo ry, o n d Rela I i n to ry C'o n d u cl'

      I                19.        In or about Februaty 2022. PlaintilTrequested ancl received a¡r¡rroval fronr

 t0        Defendants fbr a rncdical lcavc ol'absence pursuant to the Fanrily Care Medic¿rl Lcave Act

  t1       ("FMLA") becat¡se Plaintiff ncccled to havc hcart valvc surgcry. PlaintitTs IìMLA lcavc rvas
 t2        irpprovcd lionr February I I .2022 through May 7. 2022. Because ol'Plaintilfs condition. he hacl
 'I
      :J   scheclulecl heart surgery for on or about February I l. 2022 and anticipated about onc rnonth f'or

 I4        rccovcry time, assunrirrg the proceclure rvas successlul.

 15                   20.         Llnfbrtunatcly. Plaintill'sulÍcrcd conrplications during this lìrst slrrgcry ancl nearly

1(;        Iost his lilè cluring the procedure, The day after this surgery. on or about Fetrruary 12.2rJ22.

ll         PlaintifTwas transf'crrcd to a difÍcrcnt hospital to propcrly pcrfbrnr thc hcart valvc surgcry and

 IB        crlrrect conr¡rlications fi'orn the first sr¡rgery. As a result of the fìrst surgery cornpletely shutting

ts         thc lctì valve ol'Plaintif'l's heart ancl cutting olI'the bloocl su¡l¡lly to that ¡rurtion ol'his hearl.

?0         PlaintifTrc-ccivcd a l-cll Vcntricular Âssistirrg l)evicc ("l,VAD") during tltis sccuncl procedure

?T         which would open and shut thc valvc on thc lcfì sidc of I'laintifTs hcart propuly.
') ')                 2l.         Þ-urther. clue to the corn¡rlications fionr the lrrst surgery resulting in a lack ol'

23         blood flow in Plaintifïs hc¿rrt. Plaintifl'sufl'ercd a strokc which disablcd thc right sidc ol'his

;t4        lrody. Plaintifïwas ternporarily unablc to nìovc his riglrt ann and right lcg: hc coulcl not walk nor
'lÊ
           rvrite. Plaintifl'notilied Del'enclants ol'his conclition ancl his FMLA leave rvas extendecl r¡ntil on

26         trr about May 7. 20?2.

:).1                  22.        On or alroul April 7. 2022 I'laintif'1'was seen lry his cloctor who exlendecl

!rl        l)laintill's nrcdical lcavc tt¡ absence through Se¡rterrrbcr 19.2022. l-le w¿rs ¡rrescribcd the use ol'a


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           c¿ìrlc or rvhcclchair during this Linrc as he co¡rtinttccl his physical tlrcrapv antl rccovcry. Â lrunrnrr

      :    lesources rcprcserìtativc lì'onr Dcltnclarrts. 'l'racy Aguilcra. rcspt-lntlcd to ItlaintilTs new rcqucst

      -l   to cxtcrìt his nrcdical lcavc stating. "l'nr glacl to hcaryou arc cloing wcll." Orr Âpril 14,2022

      4    Plaintiff'received approval of his requcst f'or cxtencletl nrcdical lcave fronl Defendant's Leavc of

      5    Abscncc/Return to V/ork Specialist Patricia Gibson.

      t)            23.      Just bclìrrc Pl¿rintill'was sct to retunr on Se¡rtcnrbcr 20. 2022. PlairrtilTs doctors

      1    cliscoverecl that I'laintifTs hcart had rnadc- an uncxpr-ctcc1 rccovuy. Plaintifl's heart began to

      B    function propcrly and no longcr ¡reedetl the t,VAD. Thus. Plaintifl-s doctors inlìrrmcd hinr that

      !l   the LVAD needed to bc rcrlrovcd and providcd hiln with a ncw doctor's notc requesting onc last

 I (.)     exterrsion to his nreclical leave through Decenrlrer 19.2022. in clrcler fcrr Plaintil]'to have one

 Ìt        lìnal proccdurc to rr:movc thc LVAD. Plaintill's doctors schecJulcd thc surgcry in orabout
 l:        Octolrer 2022to rcrìrovc thc dcvicc and cxtcndcd PlaintifT's lcavc until Dccember 19.2022.

 l-l       Pl¿rintifT's rcqucstcd cxtension was once again a¡rproved by Delbnilants.

 L4                24.       On or about l)cccrnbcr 20,2022. Plaintifïdrovc into work. excited that hc was

15         able to continue working and that his heart had recovered. only to receive a ¡rltrtne call fionr

Ì6         Dcf'cndants' human rcsourccs manager'fracy Aguilar ("Aglrilarr"), who told Plaintifï, lìlr thc lìrst

1'7        ti¡ne. that his ¡rosition hacl been elinrinated during his leave a¡rd that he rvoulcl no longer ['re

IB         Cicncral Managcr. l'laintill'was in conrplete shock and clisbclicl. Hc askcd what hc rvas supposed

19         to do. and Aguilar respondccl by tclling Plaintifïhc could conlc back to an entry level.iob as an

't (t      aircrall lueler or cärgo hancller. PlaintifTwot¡lcl have to go fì'orn a salaried ¡rosition nraking over
2l         $100,000 per year. to an lrourly role nraking less than $20.00 per lrour. Plaintill'l'clt that Lhese job

           off'ers were a slap in the fhce as he would have to comc back to a position nraking less than half

')1        ol'his olcl hourly rate and lre nranagecl by the teanr nrernbers he used lo lr]anage belbre taking
?.4        nrcdical lcavc.
?r,                25.       Plaintil'l'told Aguilar that linarrcially hc could not accc¡rt an crltry lcvcl pt'rsitiorr
') a       and that he wantecl to corìlc Lrack in a nranagcrial rolc conrparalrle to the Operaticlns/General

           Managcr rolc Pl¿rintitl'hcld prior to going on nrcclical lc¿rvc. Âguilar told |tl¿rintifTtlrat hc hacl
') t1      t¡ntil clr or atror¡l f)ecenrtrer 23,2022 to acccpt onc ol'tlrose positions ancl if he clid not therr


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                                                            cr()MPt,AtNl'
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             Âguilar would ternlinatc' Plairrtil'1's enrploynlerìt as ¿ì "volurrtary rcsignation." Plaintill'rciteratctJ

       :!    Ite rvas ttot rcsignittg. and again askcd to rcturn to lris old role or a conrparatrle rnanagerial rolc in

       3     anotlìcr dcpartrrrent.

       4             26,      Plaintifï ltad a mccting with Aguilar on l)ecenrber 23. 2(122, Aguilar senl a recap
       c
             cnrail that satrte day reiterating that Plaintilïhad statcd hc tinancially cannot acccllt the entry

             lcvcl positions ol'l'ered to hirn. Aguilar set u¡r a "final nrccting" witlr Plaintiff for l)cccrnbcr 2ll.
             2022 for hiln to "rcct)nsidcr acce¡rtirrg one ol'the ¡rositions lreing offered." Aguilar lbrther

       B     inf'onncd Plaintill'that "ll'you do not attend the rnccting. I will thcn acccpt your volurrtary

       !l   resignation."

 10                  27   .   Plaintifï nlet with Aguilar again on f)ccenrber 28,2022, rvhere he nraintained that
 tt         hc dcscrvcd [o conretrack to a comparatrle role and rcitcratcd that hc rvould not rcsign. Aguilar

 13         tltelt sent PlaintifTan cntail stating that Plaintifl'verbally refìlsecl the entry-level ¡rositions ofl'crcd

 13         to ltinr again. Aguilar then listed l'our (4) rnanagerial positions within Mcnzics and/or ASI. but

 I4         each position was out of statc (lllinois. Toronto, or Texas). ancl Defendallts illforlnecl Plaintiff

 t5         that "there are no relocation lunds availablc." Morcovcr. the ¡rositions were not sim¡rly ofl'ered to

l6          PlaintifT. but he was told by Aguilar that he wot¡ld neecl to apply and intcrviov tbr any position

 t'7        he rvas interestetJ in. Aguilar gave PlaintifTtrvo (2) days to makc a decision and concluclecl her

lB          cmail hy stating "Failure to res¡roncl. I rvill accept this as your voluntary rcsignation."

1!)                 28.       On or about Dccenrber 29.2022. Plaintiff enlailed Aguilar stating that he nccdcd

20          nrore than trvo (2) clays to considcr rclocatirrg his e¡rtire l'anrily to another state. anrl again stated

:¿l         "l do nclt resign or voluntarily resign. ancl it fbcls tlrrcatcn rvhcn you say this (.ric:)."
22                  2L). Aguilar rvor.lld rcs¡rontl via enrail tlris very sanre day once again stating that
"')         Plaintiff hacl reft¡secl thc cntry-lcvcl.jobs in San l"rancisco. ancl that she had ol'f'erecl hinr sorne
:¿4         managerial ¡rositions I'orwhich he would "havc lto] intcrvicw arrd hc considcred. if lhcJ

2ç.t        qualiflicsl." Agttilar gavc Plaintifl't¡ntil January 3. 2023 to rnakc a dccision. ancl told Plaintill'
JD          that if hc'did ttot acccpt onc of thc r:ntry leveljobs in San Francisco Lry January 3.2023 thc.tr shc

?1          woulcl "h¿rve rro choice bul to terrninale fi'laintiff's] employnrcnt as a voltrntary

2tì         resignatiorr/rcfìrscd rvorkcd (slc:)."


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                     30.     On t¡r about.lanuary 3. 2023. Plaintili'sent Aguilar an enrail saying that he could

            not ¿U)ply for thc out ol'statc.iobs as hc coulcl rìot nlovc his lanrily ¿ìcr'oss (or out of) thc courìtry.

        3   ancl that ltc could not lì¡ranci¿rlly takc the cntry levcl laborcr.jobs oflcrcd in San l;r¿rncisco sincc i

        4   would cut his pay in half'. Yct again. Plaintitïstatcd that hc was not rcsigning and that hc f'clt that
        t
            Aguilar rvas lìrrcing Plaintillto take these jobs rnenialjotrs ancl/or resign and was being treated
        6   this way bcc¿u.rsc of'his nrcdical lcave. Aguilar res¡xrndecl the sanre day. arrd instcad o1'

            acldressing PlaintiÍTs conccrns of disparatc trcatrììcrìt or attcrnpting to hclp Plaintifl', Aguilar scnt

     B      Plaintifïa changc in status lirrnr rvronglully ternrinating his enr¡rloynrerrt. Aguilar sclccted that
     IJ     Plaintiff voluntarily rcsigncd ancl rcfirscd work on thc changc of status ftrrm.
 10         Exhuttslion of Adnúníslratíve Remedics :
 11                 3l .     At all applicable times nrentioned herein. Delbndants regularly em¡'rloyecl lìve or
 12         more persons in Califtrrnia. bringing Dcf-cndants sub.icct to thc provisions of thc lrair

 l3         limploymc¡rt ancl l-{ousing Act ("FEHA").

 I4                 32.      Plaintifïhas adcqnatcly cxhaustcd all of his administrativc rcrncdies undcr thc
 l5         F|ìHA ancl obtainecl a valid "right to sr¡e" letter against Defenclants frorn the l)e¡rartnlent of Fair
 16         Employmcnt and Housing.

 t'7


Itì                                             FIRST CAT]SN, OF ACTION
1!)                   lDisability Discrimination in Violation of Clal. (ìov. Codc Scction 12900 ct scc1.
') (l
                                      by I'laintifïAgainst ASl. Menzies" and Does l-50)

2l                  33.     Plaintiff'alleges and incorporates herein lry this refèrence each ancl every
,) ')
            allegation sct fbrth in all prcvious paragraphs of this Llornplaint.
a1                  34.     There existed an enrployer-ernployee relationship between Plaintifïancl

?4          Del'endants cluring the Ern¡rloynrent Period and. at all tirnes herein. Plaintil'l'was cluly qualifìcti

2lr         and pcrlìlnrred her crrrploymcnt tlutics in a satisl'actory rnanner.

26                  35.     l.Jccausc I"EHA rctluircs only a "limitation" on a nra.ior lif'c activity. cvidcrtcc- of a

11          tcnrporary or slrort-telm inr¡rarirnrent c¡ualilìes an enrployce äs disablecl u¡rtler Fl'lHA" thercrby
') t¿




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            af'firrcling said c:nrploycc thc protections llrovided to clisablctl pcrsons ulìclet' FEIÌA. (Diuz v. þ'cd.

      :/    lixplc,ts ('or'¡t,, (2005) 373 Þ-.Su¡rp.2d 1034. l0-5 l- 1052).

      .l             36.     Plaintiff suff'erc.cl lì'onl a ¡rhysical disability ând is a nlerìrber of'a protcctcti class

      4     within the llreanillg of'FEI{A and is cntitlcd to its guarantees of'full and cqu¿ìlaccess to
      l-¡   enrllloyment.
      (;             37.     It is unlawful for an errr¡rloyer to discrimi¡ìatc against an eulployee based on tltc
      1     ctnployee's "râce. religious creed. color. national origin. ancestty. ¡rhysical disability, tnctltal
      Ò
            disability. ¡ncdical condition. genetic infbrnration. nlaÍital status, sex. gendet'. gendcr identity.
      s     gcnder expression. age" sexual urientation. or military ancl veteran status ol'any pcrsolì" or to

10          "disclrarge tlre ¡rerson fìom cmploynrcnt, . , or to cliscrinlinate against tltc pcrsott in cotttpettsatiott

tl          or in tcrms. conditions. or privileges of enrployrìlent." (C'al. Gov't Code $ 12940(a)).

 I:l                 38.     Plaintillwas. at all tirtrcs hcrcin. an "cnìployee"'coverecl by Califbrnia
13          Governmcnt Codc $ 12900 et seq.

l4                   39.     Delènclants were at all relcvant timcs hereto "enrtrrloyers" within tltc tncaning of

15          Clalifbrnia Govemmsnt C'odc $ 12900 et seq.

 I (r                40.     Plaintiff s physical disability a¡rcl/or othcr characteristics ¡rrotectecl by FIìHA wcrc
11          motivating lactors in Dcl'cndant's aclverse treâtrnent of'Plaintifli as sct fbrth in iletail hereill
1B          ahovc.

19                   41.     t,laintiff has ¡rerlirrrnecl cornpctcntly ancl ltas gone above and bcyond in his
1t\         position. has sull'ered an advcrsc cmploynrcnt action. ancl the circunrstanccs give rise to the

2l          discrinrinatory conduct fror¡t Dcfcnclants.

/-t                  42,     As allegecl herein abovc. Plaintiff st¡ffered fi'onr a ¡rhysical disability tltat resulted

2'3         in several heart surgeries ¿rnd ¿r strokc that disabled the right sidc o1'his body. Plaintifl'would
:¿4         sull'er lionr surgical cornplications rvhich rest¡lted in his nrcdical lcave lreing extenclecl through

25          Dcccrnbcr 2022. LÌpon atternpting to return to rvork in Dcccnl[rer 2022, Del'c¡lcl¿rnts inlìrrnrcd

.i t,       Plaintiff. fbr the fìrst tinle. tlrat his ¡rosition had been clinrinated rvhilc hc was otlt otl ntcclical
?1          le¿rvc. Dcltl¡claltts thcn ofl'erecl Plaintill'entry lcvcl laborcr positions with a pay cttt ol'over -50olo.

2B          or nìatraget'ial ¡rositiorrs out ol'statc lbr which l)laintifl'woukl havc to apply and ilttcrvicrv llor.


                                                                  ,9-
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   l     atìd tlo relocatioll lces rvoulcl bc ¡rrovidcd. Dct'cnclants tolcl Plaintill'that i1'he relìtsecl t., ucçcrpt

   ,)    onc ol thcsc ¡tositit'rns thcn tlrcy w'ould tenninatc his cnrploytìlcnt. atìd lhat is cxactly wltat tltc¡'

   -l    dicl. On.lanuary 3.2023. l)cl-cndants selrt Plaintif'f'a change o1'status l'onn rvrolrglully

   4     contcnding that PlaintitThacl voluntarily resignecl arrd rcfitscd work. thereby tcrrninating his
   c
         cmployrnent.

   (¡             43.     l)cl-crrdarrts' conduct as alleged herein violated l-'EHA ancl Defenclants cttmnrittccl

   1     unlawtr¡l cnrploynrent practices. including. rvithout linritation. discrinrinating against PlaintitTby

   I     nraterially aflbcting thc tcrms and conditions of his ern¡rloynlcnt. in rvhole or ilt ¡rart on the basis
   (.)
         of'Plaintiff-smcntal disabilityinviolationol'Calilbrni¿rCìovcrntnentCocle$               l2900ctscq.

l0               44.      As a direct. fbreseeablc. and proxinrate result of Del'enclants' actions. Plaintiff has

11       suflerecl a¡l<,l continues to suf'fcr aggravation of his injuries. substantial losses itt earltings and iotr

T:Ì      trenefìts. humiliation. cnrotional clistress. and ¡rlrysical arnd lncntal pain ancl anguish ¿rll to his

l3       danrage in a sunr according trt proolat the tiltte of trial.

14               45.      Plaintifïhas inct¡rrecl and corrtinues to incur legal expenses alrd attorncys' l'ccs

l5       pursuant to Govenrnlent Cocle $ 12965(b). PlaintifTis entitled to rec()ver rcasottable attorneys'

l6       fees and costs ir'¡ an antount irccording to proof at the time ol'trial.

l1               46.      Def'enclants' conduct rvas willful. knorving. rnalicious. intcntional. ancl dolte in

1tì      reckless disregard o1'thc danraging conseqr¡ences tcl Plaintill. Dcf'cndatrts' concluct eviclencecl a

l!l      conscious disrcgard of Plaintifls rights. Plaintilf is thus cntitlccl to recover actual. compcnsatory.

2o       ¡runitivc. and exemplary darnages in anrounts according to proof at tinrc of trial.
11


                                             SECOND CATJSE ()F AC'I'ION

2i         (llarassnrent ancl Ilostile tWork Environmcnt in Violation of (-al. Gov. Cltldc Section 12900 et

                                   scc¡. by PlaintilïAgaillst Defeltdalrts ancl Dt¡cs l-50)

,t r-
                 47,      PlaintitTallcgcs ancl incorporates lrcrcin by this rcltrc'llce eaclt and every

2(;      allcgation sct f'ortlr in all previous paragr¿¡phs ol'this Lìornplaint.

21

:)B




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     I              48,      l-lrcrc cxistccl an enrployer-crnployee relationshi¡r lretween Plaintif]'ancl

     :'    Del'endants cluring the Enr¡rloyme¡rt Period and. at all tirncs hcrcin. Plaintitïwas duly qualilìcd

     3     and ¡lerfornled her enrployrnent duties in a satisf'actory nranrrer.

     4               49.     Plaintill'suflbrecl lìrr¡rr a disatrility during thc lrmploy¡rlcnt I'cr¡ocl ancl was a
     c
           nrcmbcr of a protcctcd class within thc mcaning of thc ITEIIA and is cntitled to its guarantees of

     6     ftrll and equal access to ernploynrettt,
     7              50.      It is unluwf'ul filr an enr¡rkryer to harass an enrployec bascd on thc etnploycc's
     I     "race. religious creecl. color. national origin. ancestry. physical disatrility. nrental disatrility.
     (-)
           nredical conclition. genetic inlonrration. nrarital status. sex. gcnder, gendcr idcntity" gcndcr

 Irl       cxprcssion. agc. sexual oricntatic¡n. or rnilitary and vctcran status of any persorì," Ilarassrnent of

 l1        an enrployee "shall be unlawñ¡l if the entity. or its agents or supervisors. knows rlr slrould ltave

 t?        known cll'this concluct and I'ails to take inrnrecliate and ap¡rnr¡rriate conectivc action. (Clal. (ìov't

 13        Code $ 12q40û)). Dven discrirninatory personnel/managenrent decisions ol'tlre enrployer cart

           ¡rrovicle the lrasis fbr a harassrnent or hclstile work environtrre¡rt claint. (kthy v. McÑcsn-otr
 t4                                                                                                               (-'or¡t.

 l5        (2009) 47 Clal.4th 6Í16,707: Scc also Millcr v. l)epurtmcnt o/'Cort'ct:tion,ç (2005) 36 Clal.4th

16         446.)

\1                  5I   .   Plaintilï was ¿rt all timcs hcrcin an "cmploycc" coverecl by Cal, Gov. Code $
t8         12900 et seq. Defbndants were at all relevant tinres hereto "enrployers" within the nreaning of

19         Cal. Gov. Code $ 12900 et seq.

2.O                 52.      Plaintill's disability and/or other charactcristics protcctcd by lìEI IA rvere
2I         rnotivating fhctors in Dcf'cndant's advcrsc trcatrncnt of Plaintiff'.

22                  53.      As clescritred herein atrove. during Plaintill's em¡rloynrcnt. Dcf'cndants. and cach

2i         ol'them and/or their agents or enrployees engagcd in a pattcrn and practice of unlawÍ1¡l
,¿         harassrncnt in violation of FEI-IA. Dcf'cndants harasscd Plaintiff via the actions ol'Aguilar. rvho

iJ         acting in her capacity as an agent and enrployee of ASI and Menzies. r'epeatedly 1i) sought to

26         obstruct Plaintifls return to work, (ii) continually threatened Plaintill'rvith his "voluntary

           rcsignation" clcspitc nrultiplc rvritten statcnlents fì'onr PlaintilTthat he vvould not resigrr. (iii) gave

:a t_l     Plairrtifl'unrealistic deadlines lbr rvhich to clecicle whether to t¿tke ovcr a 50% pay cut or rclocatc


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      l    his larnily across or to ¿r¡lothcr courìtry. (iv) ignored and lhilecl to invesLigatc Plaintill's claint of'

      :l   clis¡raratc. treatnretìt based u¡ron his clisability/nlcdical lcavc, and 1v¡ instcacl rcsponclc'd by

      3    tcnn inating l'lai ntifI- s cmploynrcnt,

      4             54, The harasslnent ancl hostile rvork cnvironrncnt as allcgccl ltcrc'in rvas such that a
      5    rcasonahlc wonl¿ìr1 in Plaintill-s circurnst¿urccs would havc consiclered the rvrlrk envixrnnrent to

      (;   bc hosti lc. intirnidating. of'f'ensive. opprcssive. and/or atrusi ve.

                   55.      Del'enclants k¡rew or slrould have k¡rown of'Âguilar's conduct Llt¡t corttinued to

      B    allow hcr to continuc to harass. threatcn. belittle. ancl humiliate Plaintill'rvithout any disciplinary

      9    action. therelry creating a hostile, intinridatirrg. oll'ensive, o¡r¡rrcssivc. and abusive work

1o         enviru¡rnrent.

t1                 56.      As a dircct, fbrcsccatrlc. ancl proxinrate result ol'Del'enclant's actions. Plaintifïhas

1:         suffered and colltinues to st¡fTer aggravation of'her injurics. substarrLial losscs in carnittgs.

13         bcnclìts. humiliatiorr. c¡notion¿rl distrcss. and physical and rnental ¡rain and anguish all to hcr

14         darnage in a st¡nr according to ¡rroof'at the tinre ol'trial.

15                  57.     Plaintill'has i¡rcurrcd ¿rnd continncs to incur legal expenses and attctrtteys' f'ees
 L6        prusuant to L'al, Gov. C'odc $ 12965(b), l'laintiff is entitled to recover reast¡nablc attorncys' t-ccs

11         and costs in an anllunt according to proof ert thc timc of trial.

IB                 5tl.     Dcfcndant's conduct was willfi¡|. knorving rnalicious intentional. and donc in

t9         reckless disregard of the danraging cotìsecluences to Plai¡rti11. Dcl'cndent's conduct cvidcttces a

20         collscious disregarcl ol'Plaintil'f's rights. Plaintill'is thus cntitlcd to recover actual. cotnpensatory.

2)         ¡runitive. ancl cxentplary damagcs in amount according to proof at the tinre ol'trial.
')')

?3                                             THIRD CATJSE, ()I' ACT'ION
?4             (F'ailure to Prcvc¡rt Discrirnination and l{arasstnertt in Violation of Cal. Gov. Cocle Scction

')l                          12900 ct scq, by PlaintifïAgainst ASI. Menzies. ancl Docs l-50)

                   59.      I'laintil'1'alleges ancl incor¡rorates herein by this rct'crcncc cach and cvcty
't1        allcgation sct lìrrth in all prcvious paragraphs of this C'ont¡rlaittt.
')a




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    l              60,      At all rclevant tirncs. thcrc cxistcd an enrployer-enrployee relationshi¡r lretwecn
    :)    Plainti f'f' and Dc fL'ndants.

    .J             61.      At all relevant tilnes. Defendants were erlrployers who regularly errrployecl lìvc or
    4     ¡'norc persons rvithin thc nreaning of'Calilirr¡ria Governrlrent Cloclc $ 12900 ct scq.

    5              62,      At all applicablc tirncs hcrcin. (ìov. Clodc $ 12900 ct seq. rvas in l'ull f'orce and
    (¡    effect and Lrinding on Def'enclants.

    1              63.      Califilrnia law requires that em¡rloyers takc reasunablc stcps to prcvcnt and
    I     con'ect wrongftrl behavior. including. bt¡t not linrited to. harassing and cliscrinri¡ratory behavior.
    (.)
          (,Scc Gov. Code 5S 12940(k)) (ln it unlawl'ul "Foran enrployer... to lail to takc all rcasonablc

 l0       stclls lrcccssary to prevent discrinrinatir¡n and harassmcnt from occurring.")). Pursuant to this

 t1       statute. Dcfendants rvcrc required to take all reasonable steps to prevent discrinrination ancl

 1?       harassnrent against PlaintilTtrasecl on Plaintifl's clisability ancl/or other prutcctcd charactcristics.

1l                 64.      As allegcd herein above. througlrout the Drnployment Periocl. Delbnclants f'ailecl to

14        prevent Defènclants and their agents. su¡lervisors. ern¡rloyees. and others fionr cngaging in

15        intcntional actirus that rcsultcd in Plaintilì'bcing trcatcd lcss thvorably l:ecause of Plaintiff s

l6        protected status (i.e.. disability). Plaintiff complainecl of the clis¡rarate treatment he sufl'erecl due

l7        to his disability/rcqucst lìrr nredic¿rl lcavc. Rathcr than invcstigatc ancl/or renrecliate the rnatter,

18        Defendants respondecl via the wrongful ternrination of his ernployrnent.

19                ó5.      Plaintilf is infonned ancl lrelieves. and lrasecl thereon alleges. that his disability
20        and/or other characteristics ¡rrotectecl hy Þ'EHA werc suhstantial nrotivating factors in

2l        Dcf'cndants' advcrsc trcatmcnt of l'laintitf'. Dc'spitc knowing its legal obligations. Defenda¡rts dicl

          nothing to ¡rreverrt the rampant cliscrinrination and harassnrent that Plaintil'l'stltÍcrcd.

?,3               66.      l)el'e¡rdants knew. or reasonably should have known o1'thc other Defertdants ancl

24        thcir agcnts. supcrvisors and cmployccs' unlawfi¡l discrimination o1'Plaintifl. and that
.t a.
          Defendants shor¡lcl have rcstrained such other Defenda¡rts fì'onr engaging in such conduct.

26                67.      As a direct. lbreseeable. ancl ¡rroxirnate result ol'Del'endants' ¿rctions. PlaintilThas

          strfl'crecl and continuc's to suf'f'cr aggravation of his injuries. sulrstantial losscs in earnings and.iolr
.) O




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     1     l'rencfìts. hunliliation. enrotior'r¿rl distress. anrl ¡lhysical and nrental ¡rain and anguish all to his

     :!    darnagc in a sunr according to ¡rroof at thc tinlc ol-trial.
     '.a
                   68.      Plaintil'l'has incured ancl continues to incur legal cxpcnscs ¿ìrìd attonìcys' I'ccs

     4     pursuanl to Govcrnrncnt Codc $ 12965(b). l'laintifïis cntitlcd to rL'covcl reasonatrle attomeys'

     5     lbes ancl costs in an arnot¡nt according to proof at the tinle of trial.

     ()             69.     l)efenclants' cclnduct rvas willlul. knorving. malicious. intcntional. and donc in

     1     rccklcss disrcgard o1'thc damaging conscqucnccs to Plaintifl. Dcltndants'conduct eviclenccd a

     B     conscious disregard of'Plaintifl's rights. Plaintifl'is thus entitled to recovcr actual. com¡rensatrlry.

     s     punitivc. and cxcmplary damargcs in anrounts ¿rccording to proof at timc of trial.

10

ll                                            FOTIRTH CAI.ISII OF ACTION
 l:2                  (Rctaliation in Violation of Clal. (iov. C'r¡dc Scction 12900 ct scq. by Plaintiff

1,J                                         Against ASI. Menzies. ancl Does l--50)

 I4                70.     Plaintill'allcgcs and incorporatcs hcrcin by this rcf'crcncc caclt ancl every
l5         allegation set fbrth in all previous paragraphs of this Complaint.

lij                71.     At all relevant tirnes. there existecl an enr¡rloyer-enr¡rloyec rel¿rtionship bctwcen
I1         Plaintiff ancl Defendants.
1B                 72.     At all releva¡rt ti¡rres. l)efènclants were enr¡rloyers who regularly crlploycd lìve or
lcJ        morc pcrsons within thc ¡neaning of Calilbrnia (ìovcrnnrcnt Clodc $ l290Clct scq.

20                 73,     Ât all applicablc tirncs hcrcin, Gor,. Clodc $ 12900 ct seq. was in full force and
2l         effect and bincling on Defendants,
a')                74.     Llalilìrrnia (ìovcrnrncnt Codc $ 12940(h) providcs that it is unlawful to retaliatc

           against a pcrson "bccausc thc pelson has opposed any practices forbiclden under [Governnrent

2A         Clocle Sections 12900-129ó6]", It is also r¡nlawful to retaliate or otherwise cliscrinrinette against a

25         persorl lirr rec¡uesting an acconrmoclation firr clisability. regarclless ol'rvhcthcr thc acco¡rrnoclatitxr

i).6       was grantcd. (,Vc C'al. (ìov't C:odc $ 12940(m)(2)).

21                 75.     As allegecl hercin above. Plaintifl'requestecl a ¡neclical lcavc ol'itbscncc pursuant

2B         to thc I.'MLA in or about lì'cbruary 2022 lbrr hirn to obtain a ncccssarry ltcart surguy. Plaintifì'


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        I    would sufÍ¡r lìrln surgical conr¡rlicatio¡rs rvhich resulled in his lncclical leave being extencled

             tlrrouglr Dcccrntrcr 2022. U¡lon attcmpting to rctunr to rvork irr l)cccrrrbcr2022, Dclcndants

        -ì   retaliatc'd agaitìst l'laintifj'fìrr his cxtcndcd nrcdical leave hy inltrrnring hinr. firr the lirst tirne"

        4    that lris ¡rosition hacl been elinrinatcd rvhilc hc was out on nrcdic¿rl lcavc. Dcfbndarrts thcn olTèrcd
        c
             Plaintifl'cntry level laborer ¡rositions with a ¡ray cut of over 50%. or managerial positions out of

        6    statc tbr which Plaintill'would havc to apply and intervierv lirr. ancl no rel<lcation f'ees rvoulcl lre

             ¡lrovidecl. Defendants told Plaintitïthat if hc rcfiscd to acccpt onc r¡1'thcsc positions thcn they
      B      would tcnninatc his cnr¡rloyment, and that is exactly whal. they did. On .lanuary 3. 2023.

      !)     Defendants conunittcd thcir fìnal rctaliatory act via thc rvrongful ternrination of his enrployrnent.

  l0                  76.      As a proxinrate result of'Defenclants' actions. Plaintifïhas suftued and continucs

 l1          to suffcr aggravaLion ol'his injuries. substantial krsses in earnings and job trenelìts. hu¡niliation.

 l:¿         etnotiotral distress. and physical and mcntal pain and anguish all to his darnagc in a sum

 l3          according ttl prool.at the tinrc ol'trial.

 14                   77.     Plaintitïhas incurrcd and contirtucs to incur lcgal cx¡rcnscs and attorncys' lbes
 t5          pursuant to Gover¡rnrent Code $ 12965(b). Plaintiff is entitlecl to recovcr rcasonable attorncys'

 l6          l'ccs and costs in eìn anlourlt according to ¡rrool'at the time of'trial.

 l7                   78.     Def'enclants' co¡rdr¡ct rvas willful. knorving. malicious. ancl intcntional and clonc in

Iu           rccklcss disrcgerrd ol'thc datnaging consequences tu PlaintilL Def'endants' concluct evidenced a

19           conscious clisregard of PlaintifTs rights. Plaintil'l'is thus cntitlcd to recover actual. conr¡rensatory.
')0          punitive. and exenrplary darnages in amot¡nts according to proof at timc of trial.

2T

')')                                               ¡.II¡T'}I CAUSE, O¡' ACTION
?.1               ('Wronglul Ternrination in Violation of Public Policy (('ount I) lly PlaintifïAgainst
                                                                                                                  ^Sl.
24                                                     Menz,ies. and l)oes l'50)

2rs                  79.      I'lai¡rtilT'allcgcs and incor¡roratcs herei¡r by this relèrence each and e\/ery

26           allegation set f'orth in all previor,ls paragriìphs of this Clomplaint.
';a'7                tlO. At all rclcvant tinrcs herein. thcrc existed an e'nr¡rluyer-enr¡rloyee lelationship
,)Q
             lretrveen P l a i nt i tT and Del'endants cluri ng thc- lnploytncnt Pcri od.


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     I              ttl.    At ¿ìll rclcvant timcs herein. I'lairrtifl'rvas duly qualitìed and ¡lerlirnnecl his

     ,.'|   crnployntetrt duties in a satisfactoty trranncr.

     .t             tl2'    At all rclcvatrt tilnes to this action. Govcrntncnt Code s\ I 2900 et scc¡' was in fi¡ll

     4      lbrcc ancl effèct and was bincling u¡'rorr Dcf'crrdants. (iovertutteltt Coclc s\ 12900 ct scq. prohibits

     I      an eln¡rloyer fì'onr retaliatirrg agarinst crnployees wlto request a disability rclatecl accolrtlrlodatitln.

     6      (Cal. (ìov't Llodc $ 12900(nt)(2)). Governrnent Code $ 12900 ct seq. evinces a policy that

     1      bcncfits society at large. was rvell-established at thc time of Plaintifl's dischargc. and is

     B      suhstantial and firndarncntal.

     I              83.     Plaintifls requests fbrand usc ol-I"MLA leave and extendecl medical lcavc werc-
t0          substantial nrotivating reasons lirr Def-cndants' decision to ternrinatc Pl¿rintifT's etnployment,

l1                  84.     As a dircct and proxinlate result ol'Delþndants' actions. Plaintiff has suflbred. and

t:¿         continucs to suffer. substantial losses in earnings and other.iob benefits. and will lbl a pcriod of

l-1         tinle in thc luturc bc unablc to obtain gainful enrployrnent. as Plaintifl-s aLrility to otrtain suclt
 l4         crnploynrent ancl earning ca¡racity has lree¡r diminishcd. 'fhe exact anloutlt of'suclr cxpcnscs ancl

15          losses is presently unkrrorvn, and Plaintifïwill seek leave to anrend this C'ornplaint to the exact

16          arrrount whcn it is asccrtainccl.

I1                  85.     As a clirect and proxinratc rcsult of Del'endants' conduct. Plaintiff has st¡fferecl

1B          general danrages. as PlaintifTrvas psychologically injurcd. Such initrries have caused. and
'I c,
            continuc to cause Plaintiff great nrental ¡rain and sutfbring. ht¡lniliatioll" gricl, and anxicty. in an

20          arnount nrore than the jurisdictional limits o1'tltis L'otlrt.
') 1                86.     Plaintill'is inl'ormcd and bclieves. and trased thcrcon allcgcs" that Defendants'
2?          (including crnployees" officers. directors. ar¡d/t¡r tnanaging agents ol'Defbndants) conduct was

.i -'t      rvillful. knowing. lnalicious. ancl i¡rtentional and done in reckless disregard of the clamaging
24          consequences to Plaintill. Dct'cndants' conduct eviclencecl a conscit-rus clisregard of Plaintill's

¿5          rights. Plaintil'l'is tlrus cntitlcd to recover aclual. cornpcnsatory. pturitive. ancl exertrplary

.a   li     darnagcs in artrourtts accolcling to ¡rrool.

:a' t               87.     Plaintifl'is infbrlncd and Lrclieves. and bascd tltcrcort alleges. that the actions of'
?B          Dct'cnclants' cnrployees. officers. tlirectors. ancl/or ntattaging agettts were unclctlakcn rvith thc


                                                                'l(t'
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 I   prior approval. consent" and authorization of l)efendants and werc subscqucntly at¡tlrorized and

 2   ratilìed by it as well as by and through its ofïìccrs. directors, ancl/or nranaging agents.

 3


 4                                       SIXTH CAUSE OF ACTION
 5                     (WrongfirlTennination in Violation of Public Policy (Count Il)

 6                            by Plaintiff Against ASI. Menzies, and Docs l-50)
 a
             88. Plaintitïalleges and incorporatcs hcrcin by this reference each and every
 I   allegation set forth in all previous paragraphs of this Cornplaint.

 9           89. At all relevant times herein. there existcd an employer-ernployee relationship
l0   bctwccn Plaintiff and Defendants during the Ernployttrent Period.

t1           90. At all relevant times herein, Plaintiff was duly qualificd and perfonned his
I2   ern¡rloynrerrt cluties in a satisfhctory manner.

I3           91. At all applicable tinres herein. California Governn'¡cnt Clode |i 12900 et seq. and
T4   Califbrnia Constitution Art 1.. $ I were in tìrll tbrcc and effect and binding on Defendants.

l5           92. Defendants' termination of Plaintiff was in violation ol'f'undamental public
16   policies. articulated in Governnrent Code $ 12900 et seq. and Articlc I, $ I of the California

I1   Constitution. Specifically, that the policy behind the prevention of discrinrination protects

l8   Plaintiff and the public at large, is substantial and funclamental. was well established at the tirne
r9   ol'Plaintiff s clischarge. and can fbrm the basis of a common law wrongful tennination clainr.
20   (Stevenxtn v. Superior Llourt (lluntington Mem. Hosp.), (1997) l6 Cal.4th 880, 889; Philli¡t,r v.

2I   St. Mury Regional Medical Center, (2002) 96 Cal.App ,4t1t 218.227).

22           93. Plaintifl's disability and/or other protccted characteristics were a substantial
23   motivating reason t'or Dcfendants' decision to terminate Plaintifls employment.

24           94. As a direct and proximate result of Defendants' actions, Plaintiff has suffcred. and
25   continues to suffer, substantial losses in eanrings and other job bcnefits. and will for a period of

26   tinre in the l'uture be unable to obtain gainf'ul employmcnt, as Plaintiffls ability to obtain such

21   ernployrnent and earning capacity has been dinrinishecl. The exact amount of sr¡clt expenses and

2B



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   1    losses is ¡'rrcscntly unknowr.r. ancl Plaintill'will sccl( lcavc to anlcrtci this Clortr¡rlaint to the cxact

   ')   a[ìount wlìcn it is asccrtaincd.
  .l               9-5. As a clircct ¿ìnd proxirnatc rcsult of llcf'cndants' conduct. Plairttill'has sulÏèrcd
  4     gctreral danrages. as PlaintifTrvas psychologically injurecl. Such injurics havc causcd. altd

  5     continue to cause Plaintifl'great nrental pain and sufl'ering. humiliation. grief. and anxiety. i¡r an
  (;    atnount morc lhan the jurisdictional limits of this C'ourt.

  1                96.    Plaintifï is intbrlnecl and lrelieves. and lrased thereo¡r alleges, that Dcf'cndants'
  B     (including enrployees. ollicers. dircctors. and/or managing agents of Defèndants) conduct was

  I     willtìrl. knowing. malicious. and intentional and done in reckless disregartl of'the damaging
l0      cotrsequences to Plaintiff, Defendants' conduct evidencecl a conscious disrcgard of PlaintilTs

1l      rights. Plaintif'f is thus entitled to rccovcractual, cornpcnsatory. punitive. ancl exent¡rlary

 t?.    darnagcs in amounts according to proof'.

 I-t               97.    Plaintill'is inlirr¡ned and bclicvcs. and bascd tltcreon alleges. that the actions of
 t4     Dcf'cndants' cmployccs. ol ccrs. directors. and/or managing agents were undertakcn tvith the

15      prior approval. consent. and authorization o1'I)el'endants and wcrc subscqucntly authorized and

16      ratilìecl by it as well as by antl through its offìccrs. dircctors, and/or rnanaging agents.

T1


1B                                              PRAYER FOR RELIEI..
lrJ             V/HtlREl'ORE, PlaintifTprays f'or.judgnrent against Defendants. jointly and sevcrally. as

20      fbllows:

?I                                   I.INDER THE FIRST CAI]SR OF ACTION

               L l.'or all compcnsatory. conseqt¡ential. general and special clamages. sr.rbicct to prooll
23             2. Iror punitivc damages in an anrount to be cleternrined by thc Llourt to bc rcasonablc
24                    uncler the circr¡rnstances ol'this case;

2l¡            3. For attorney's lbes and costs pursuant to (ìot,crnr'¡rcnt Code $ 12965(bX
:¿6            4. l"ur intcrcst according to larvl
:lt            5. Fcu ct:sts of'suit incurrecl hcrcinl and
ao             6. l.'or such othcr ancl furthcr relicf that the Cot¡r't detennines to be jusl. ancl propcr.

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                                                        COMPt.AtN'l
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     I
     2                      UNDER THE SECOND CATJSE OF ACTION
     3     l. For all colnpensatory. consequential. general and s¡recial danrages. subject to proof;
  4       2, For punitive danrages in an anrount to be determined by thc Clourt to be reasonable
  5           under the circumstanccs of this case;

  6       3. For attorney's fees and costs pursuant to Govenrment Code $ 12965(b);
  7       4. For interest according to law:
  I       5. For costs of suit incured herein: and
  9       6. For such other and further relief that the Court deternrines to bc just and proper.
10

1l                           UNDER THE THIRD CAUSE OF ACTION
I2        l. For all colnpensatory. consequential. general arrd special damagcs. subject to proof;
13        2. Þ'or punitivc damagcs in an amount to be detenrrined by the Court to be reasonable
I4            under the circurnstances of this case:

15        3. For attorney's fbes and costs pursuant to Government Code $ 12965(b):
16        4. I.'or intcrcst according to lawl
17        5. For costs of'suit incurred herein; and
TB        6. Þ'or such othcr and further relief that the Couft detemrines to be just and proper.
I9

20                         UNDER THR FOURTH CAUSE OF ACTION
21        l. For all compensatory. consequential. gencral and special damages, subject to proof;
22        2. For punitive darnages in arr amount to be deternrined by the Court to bc rcasonable
23            under the circumstances ol'this case;

24        3. For attomey's lèes and costs pursuant to Government Code $ 12965(b)l
25        4. For interest according to law:
26        5, For costs of suit incurred herein: and
2't       6. For such otlrer and furthcr relicf that the Court deternli¡les to be just ancl proper.
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  I                              UNDER THE }'IFTII CAUSE OF ACTION
  ?           I. For all contpensatory. consequential. general and special damages. subject to proofl
  3           2. For punitive darnages in an amot¡nt to be deternrined by the Court to bc rcasonablc
  4               uncler the circunrstances of'this case;

  5           3. F'or intcrest according to law:
  6           4. For costs of suit incurred herein: and
  "t          5. For such other and further relief that the Court deternrines to bc just and proper.
  I
  9                             UNDBR THB SIXTH CAUSE OF ACTTON
10            6. For all compensatory. consequential. general and special damages. subject to proof;
11            7. For punitive damages in an amount to be detennined by the Court to be reasonable
T2               under the circumstances of this case;

13            8. For interest according to law;
l4            9. For costs of suit incurred hereinl and
15            I 0. For such other and firrther relief that the Clourt determines to be just and proper.

l6
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IB     Datcd: June 8, 2023.                          MARQUEE LAW GROUP. APC

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20                                                   By
21
                                                            F. Shawn        ahi. Esq
                                                            Gary S. Brotman. Esq.
22                                                          Attomeys for Plaintiff Geary Sha

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26     il
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                                                   COMPLAIN'f
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     1                                 DEMAND FOR JURY TRIAL
     2         PLAINTIFF hereby demands ajury trial with respect to all issues triable in the
     3   Complaint.

     4


     5   Dated: June 8,2023                         MARQUEE LAW GROUP, APC
     6

 1                                                 By
 I                                                      F. Shawn             , Esg.
                                                        Gary S.Broftnan, Esq.
 9                                                      Attorneys for PlaintiffGeary Sha
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                           Supe rior Court of California, County of San Francisco
,'.: ' ..1:1, ,                            Alternative Dispute Resolution


ffi                                             lnformation Package                                   A              /\

                                                                                                               ll 3
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                                                                                                    ¿
            The plaintiff must serve a copy of the ADR lnformation Package on each defendant along
           with the complaint. Cross-complainants must serve a copy of the ADR lnformation Package
               on any new parties to the action together with the cross-complaint. (CRC 3.221(c).)


      WHAT IS ADR?
      Alternative Dispute Resolution (ADR) is the term used to describe the various options available for
      settling a dispute without a trial. There are many different ADR processes, the most common forms of
      which are mediation, arbiÍation and settlement conferences. ln ADR, trained, impartial people decide
      disputes or help parties decide disputes themselves. They can help parties resolve disputes without
      having to go to trial.

      WHY CHOOSE ADR?
      It is the policy of the Superior Court that every long cause, non-criminal, non-juvenile case should
      partic¡pate either in an early settlement conference, mediation, arbitration, early neutral evaluation or
      some other alternative dispute resolution process prior to trial. (Local Rule 4.)

     ADR can have a number of advantages over traditional litigation:
             o ADR can save time. A dispute often can be resolved in a matter of months, even weeks,
                   through ADR, while a lawsuit can take years.
             o ADR can save money, including court costs, attorney fees, and expert fees.
             o ADR encourages partlclpatlon. The parties may have more opportunities to tell their story than
                   in court and may have more control over the outcome of the case.
             o ADR is more satlsfylng. For all the above reasons, many people participating in ADR have
                   reported a high degree of satisfaction.




     WHAT ARE THE ADR OPTIONS?
     The San Francisco Superior Court offers different types of ADR processes for general civil matters. The
     programs are described below:

     1) MANDATORY SETTTEMENTCONFERENCES
     Settlement conferences are appropriate in any case where settlement is an option. The goal of
     settlement conferences is to provide participants an opportunity to reach a mutually acceptable
     settlement that resolves all or part of a dispute. Mandatory settlement conferences are ordered by the
     court and are often held near the date a case is set for trial, although they may be held earlier if
     appropriate. A party may elect to apply to the Presiding Judge for a specially set mandatory settlement
     conference by filing an ex parte application. See Local Rule 5.0 for further instructions. Upon approval by
     the Presiding Judge, the court will schedule the conference and assign a settlement conference officer.


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2l MEDTATTON
Mediation is a voluntary, flexible, and confidential process in which a neutral third party facilitates
negotiations. The goal of mediation is to reach a mutually satisfactory agreement that resolves all or
part of a dispute after exploring the interests, needs, and priorities of the parties in llght of relevant
evidence and the law.

     (A) MEDIATION SERVICES OF THE BAR ASSOCIATION OF SAN FRANCISCO (BASFI, ln cooperation
with the Superior Court, is designed to help civil litigants resolve disputes before they incur substantial
costs in litigation. While it is best to utilize the program at the outset of litigation, parties may use the
program at any time while a case is pending. Experienced professional mediators work with parties to
arrive at a mutually agreeable solution. The mediators provide one hour of preparation time and the
first two hours of mediation time. Mediation time beyond that is charged at the mediator's hourly rate.
BASF pre-screens all medlators based upon strict educational and experience requirements. Parties can
selecttheirmediatorfromthepanelsat@orBASFcanassistwithmediator
selection. BASF staff handles conflict checks and full case management. The success rate for the
program is 67% and the satisfaction rate is 99%. BASF charges an administrative fee of 5295 per party.
The hourly mediator fee beyond the first three hours will vary depending on the mediator selected.
Waivers of the fee are available to those who qualify. For more information, call 415-982-1600 or email
adr@sfbar,or¡.

      (B) JUDICIAL MEDIATION PROGRAM provides mediation with a San Francisco Superior Court judge
for civil cases, which include but are not limited to, personal injury, construction defect, employment,
professional malpractice, insurance coverage, toxic torts and lndustrlal accidents. Parties may utilize
this program at any time throughout the lltlgation process. Parties interested in judicial mediation
should file a Stipulation to Judicial Mediation indicating a joint request for inclusion in the program. A
preference for a specific judge may be indicated. The court will coordinate assignment of cases for the
program. There is no charge. lnformatlon about the Judicial Mediation Program may be found by
vlsiting the ADR page on the court's website: www.sfsuperlorcourt,orgldlvlsions/civil/dispute-resolution

    (Cl PRIVATE MEDIATION: Although not currently a part of the court's ADR program, parties may
select any private mediator of their choice. The selection and coordination of private mediation is the
responsibility of the parties. Parties may find mediators and organlzatlons on the lnternet. The cost of
private mediation will vary depending on the mediator selected.

     (Dl COMMUNIW BOARDS MEDIATION SERVICES: Mediation services are offered by Communlty
Boards (CB), a nonprofit resolution center, under the Dlspute Resolutlon Programs Act. CB utilizes a
three-person panel mediation process ln whlch mediators work as a team to assist the parties in
reaching a shared solution. To the extent possible, mediators are selected to reflect the demographics of
the disputants. CB has a success rate of 85% for parties reaching a resolution and a consumer
satisfaction rate of 99%. The fee is S45-$100 to open a case, and an hourly rate of S180 for complex
cases, Reductlon and walver of the fee are available. For more information, call 475-920-3820 or visit
com m un ltvboards,ors.




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3l ARBTTRATTON
An arbitrator is a neutral attorney who presides at a hearing where the parties present evidence through
exhibits and testimony. The arbitrator applies the law to the facts of the case and makes an award based
upon the merits of the case.

     (A) JUDTCTAT ARBTTRATTON
When the court orders a case to arbiration it is called "judicial arbltration". The goal of arbiration is to
provide parties with an adjudication that is earlier, faster, less formal, and usually less expensive than a
trial. Pursuant to CCP L74t.L7, all civilactions in which the amount in controversy is $50,000 or less, and
no party seeks equitable reliel shall be ordered to arbitration. (Upon stipulation of all parties, other
civil matters may be submitted to judicial arbitration.) An arbitrator is chosen from the court's
arbitration panel, Arbitrations are generally held between 7 and 9 months after a complaint has been
filed. Judicial arbitration is not binding unless all parties agree to be bound by the arbltrator's decision.
Any party may request a trial within 60 days after the arbitrator's award has been filed. Local Rule 4.1
allows for mediation in lieu of judicialarbitration, so long as the parties file a stipulation to mediate
after being assigned to judicial arbitration. There ís no cost to the part¡es for judicial arbitration.

    (Bl PRTVATE ARBTTRATTON
Although not currently a part of the court's ADR program, civil disputes may also be resolved through
private arbitration. Here, the parties voluntarily consent to arbitration. lf all parties agree, private
arbitration may be binding and the parties give up the right to judicial review of the arbitrator's decision.
ln private arbitratíon, the parties select a private arbitrator and are responsible for paying the
arbitrator's fees.

HOW DO I PARTICIPATE IN ADR?
Litigants may elect to participate in ADR at any point in a case. General civil cases may voluntarily enter
into the court's or court-affiliated ADR programs by any of the following means:
    .    Fil¡ng a Stipulation to ADR: Complete and file the Stipulation form (attached to this packet and
         available on the court's website); or
    o lndicating your ADR preferences on the Case Management Statement (available on the court's
         website); or
    ¡    Contactlng the court's ADR Department (see below), the Bar Association of San Francisco's ADR
         Services, or Community Boards.

For more lnformatlon about ADR programs or dispute resolutlon alternatlves, contect:

                             Superior Court Alternative Dispute Resolution
                       400 McAllister Street, Room 103-A, San Francisco, CA 94LOz
                                              415-551-3859
        Or, visit the court's ADR page at www,sfsuoeriorcourt,orsldivisions/civil/dispute-resolution

TO PARTICIPATE IN ANY OF THE COURT's ADR PROGRAMS, PLEASE COMPLETE AND FILE THE ATTACHED
STIPULATION TO ADR AND SUBMIT IT TO THE COURT. YOU MUST ALSO CONTACT BASF OR COMMUNITY
BOARDS TO FNROLI IN THFIR IISTFD PRO            THE COURT DOES NOT FORWARD COPIES OF
STIPULATIONS TO BASF OR COMMUNITY BOARDS,




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                                                                                                             FOR COURT of 32
                                                                                                                          O¡f[Y




TELEPHONE NO,:

ATTORNEY FOR l/Vâmer:

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
400 McAlllstÊr str€€l
San Franciac¡, CA 94102-4514

PLAINTIFF/PETITIONER:


DEFENDANT/RESPONDENT:


              STIPULATION TO ALTERNATIVE DISPUTE RESOLUTION (ADR)                            CASE NUMBER:

                                                                                                               OEPARTMENT 610

1)   The partlea hereby st¡pulatê that thls âctlon 3hâll bê submltted to the following ADR proceea:
 E        Mediation Servicee of the Bar Aseocletlon of San Franclsco (BASF) - Experienced professional mediators, screened
          and approved, provide one hour of preparation and the first two houre of mediation llme for a BASF administrative fee of
          $295 per party, Mediation time beyond that is charged at the medlator's hourly rate. Waivers of the adminietrative fee are
          avallable to those who qualify. BASF assists parties with mediator eelection, conflicte checks and full câsê mânâgemenl.
          www, sfbar, org/mediation

 E        Mediation Servicee of Community Boarda (CB) - Service in conjunctlon with DRPA, CB provides case development and one
          three-hour mediation aession, Addilional sessions may be scheduled. The cost is $45-$100 to open a GasE, and an hourly rate
          of $180 for complex cases. Reduction and waiver of the fee are avallable to those who qualify. communityboarde.org
          Private Mediation - Mediators and ADR provider organizalions charge by the hour or by the day, current market rates, ADR
          organlzations may also charge an administrative fee. Parties may lind experienced mediators and organlzations on the lnlernet,
EI       Judlclal Arbltratlon - Non-binding erbitration is available to cases in which the amounl ln controversy is $50,000 or less and
         no equltable relief is sought. The court appoints a pre-screened arbitrator who will issue an award. There is no fee for
         this program. www.sfsuperiorcourt.org/divisions/civil/dispute-resolution
EI       Judicial Mediation - The Judicial Mediation program offers mediation in civil litigation with a San Francisco Superior
         Court judge familiar with the area of the law that is the subject of lhe controversy. There is no fee for this program.
          www. sfsuperiorcourl.org/divisions/civil/dispute-resolution

          Judge Requested (see list of Judges currently participating in the program):
          Date range r€quested for Judlclal Mediation (from the filing of stipulation to JudicialMediation):
          Ego-go days E 90-120 days E ottrer(pleasespeciff)

E      Other ADR process (describe)
2l The partles agree that the ADR Procesg ehall be completed by (date):
3) Plaintiff(e) and Defendant(a) further egree as follows:



Name of Party Stipulating                                                    Name of Party Stipulating


Name of Party or Attorney Executing Stipulation                              Name of Parly or Attorney Executing Stipulation


Signature of Party or Attorney                                               Signature of Party or Attorney

Ef puint¡tt f--l Defendant fl           Cross-defendant                      n ptaint¡fr [-l Defendant n            Cross-defendant

Dated:                                                                       Dated
                                                 tr Addltlonal slgnature(s)attached

ADR-2 10/18                      STIPULATION TO ALTERNATIVE DISPUTE RESOLUTION

                                                                                                                         Page 55
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      I                                           PROOF OF SERVICE

  2               I declare tlrat I anr over the age of eighteen ( I 8) and not a party to this action. My business
           address is 9100 Wilshire Boulevarcl. Suite 445. Dast Towcr. IJlcvcrly Hills. California 90212.
  3
                  On Junc 13,20231 scrved the lirregoing docunrent(s) described as:
  4             SUMMONS; COMPLAIN'I'; CtVtL CASE COVER SHEET; ADR INFORMATION
                PACKA(;E; AND NOTICE AND ACKNOWLBDGBMBNT OF RBCBIPT - CtVtL
  5
           on all interested parties in this action by transrnitting a truc copy of thc document(s) dcscribed
  6        above. acldressed as follows:
                                           SEE ATTACHBD SBRVICB LIST
  7
           (X) BY MÂIL as follows: I arn "rcadily familiar" with the l'irm's practice of collection ancl
  I               processing of corcspondcnce for mailing with the LJnited States Postal Service. I know
                  that thc correspondence wa$ deposited with the Llnited States Postal Service on the same
  9
                  day this declaration was executed in the ordinary course of business. I know that thc
 l0               envelope was sealed and. with postage thereon fully prcpaid, placcd for collcction and
                  nrailing on this date in the Unitcd Statcs mail at Beverly Hills. California.
 ll ( )           ltY PERSONAL SERVTCE: I causecl to be delivered such envelo¡re by hand to the
 t2               above addressee(s).
           ()     BY OVBRNIGHT COURIER: I am "readily lànriliar" with the lìrnr's practice ol'
l3                collecting and proccssing overnight deliveries, which includes depositing such packages in
t4                a rcccptaclc used exclusively lirr ovenright cleliveries. The packages were depositecl
                  before the regular pickup tinle ancl marked accordingly for delivery the next busincss day.
l5         (X)    BY ELECTRONIC TRANSMISSION: Participants in this case were served
                  electronically to the address of the recipient(s) as sct forth bclow. I am rcadily familiar
l6                with the Code of Civil Procedurc and Clalifornia Rules of Clourt for electronic service ancl
                  this docu¡ncnt/thcsc documcnts were duly served electronically in accordance with said
t7
                  rulcs and regulations on the date statecl above. and the transmission was reported as
l8                complete and without errur.

l9                I declare under penalty of perjury t¡ndcr thc laws of thc Statc of California that the above is
          true and correct. Exccutcd on Junc 13,2023 at Beverly Hills. Calilornia.
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      SERVICE LIST:
 I
       Foley & Lardner LLP                          Attorneys   þr Detendant MÊNZL ES
 2     c/o Kevin Jackson, Esq,                      AVIATI0N (USA), INC. and TRnIC:Y
       I1988 Ël Camino Real, Ste 400                AGUILAR.
 3     San Diego, CA 92130
       E : kj ac lcson@¡þ I ey. c o m ;
 4      smoreno@Jbley.com:
       cward(Ð,folev.com
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